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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS



 GORDON SCHIFF and,
 CELESTE ROYCE,
             Plaintiffs,
 v.
                                                    Civil Action No. 1:25-CV-10595-LTS
 U.S. OFFICE OF PERSONNEL
 MANAGEMENT,
 CHARLES EZELL, in his official capacity as
 Acting Director of the U.S. Office of
 Personnel Management,
 U.S. DEPARTMENT OF HEALTH &
 HUMAN SERVICES,
 ROBERT F. KENNEDY, JR., in his official
 capacity as Secretary of Health and Human
 Services,
 AGENCY FOR HEALTHCARE RESEARCH
 AND QUALITY, and
 MAMATHA S. PANCHOLI, in her official
 capacity as Acting Director of the Agency for
 Healthcare Research and Quality,

                  Defendants.

                      DECLARATION OF MARGIE SHOFER

       I, Margie Shofer, do hereby state and declare as follows, pursuant to 28 U.S.C. § 1746:

1. I am the Division Director of General Patient Safety at the Agency for Healthcare Research

   and Quality (“AHRQ”), an agency under the Department of Health and Human Services

   (“HHS”). I submit this declaration in connection with the Defendants’ Motion to Dismiss the

   Complaint.   The statements made herein are based on my personal knowledge and on

   information provided to me in the course of my official duties with HHS.

2. I have worked at HHS for almost 25 years, and I have been in my current position since July

   24, 2016. Previously I served as Program Analyst in the Office of Communications (June 19,



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   2000- July 31, 2015), and a Health Scientist Administrator -non-supervisory (November 15,

   2015-July 23, 2016).

3. The Agency for Healthcare Research and Quality conducts health services research. It is the

   nation’s lead federal agency supporting patient safety research and supports state-of-the-art

   data analytics tools to analyze and improve the U.S. healthcare system. The Center for Quality

   Improvement and Patient Safety is responsible for preventing, mitigating and reducing medical

   errors and patient harm. PSNet is a national web-based resource featuring news and resources

   on patient safety. It is devoted to improving patient safety in the form of sharing original

   content developed by the contractor and content developed elsewhere such as peer reviewed

   journal articles and toolkits created outside of AHRQ.

4. One of my responsibilities as Division Director of General Patient Safety at AHRQ is to

   oversee work conducted by team members. In my supervisor role, I provide guidance on

   contracts managed by the team, including providing guidance to Pantheon, the contractor for

   AHRQ’s Patient Safety Network website (“PSNet”).

5. I am aware of the Court’s May 23, 2025, Order on a Motion for Preliminary Injunction

   (“Order”).

6. Pursuant to the Court’s Order: On May 27, 2025, AHRQ reposted on PSNet, complete,

   unaltered versions of Dr. Schiff’s commentary on suicide risk; and Dr. Royce’s commentary

   on endometriosis; as well as all other content authored by private parties that was removed

   from PSNet pursuant to the defendants’ implementation of Executive Order No. 14,168. In

   total, nine articles authored by private parties (including the commentaries of Dr. Schiff and

   Dr. Royce) had been taken down and then were re-posted pursuant to the Court’s Order.

7. The nine articles that were reposted constitute the universe of articles authored by private



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   parties that were taken down from PSNet in January 2025, pursuant to HHS’s and AHRQ’s

   implementation of EO 14,168.

8. It is the position and intent of HHS that the nine re-posted articles will remain on PSNet for as

   long as PSNet exists as a website (in either static or active form).

9. PSNet is a static website. It ceased being an active website on March 24, 2025, when HHS’s

   contract with Pantheon (under which Pantheon operated PSNet) ended and was not renewed.

10. PSNet is not accepting any new publications.



       I declare under penalty of perjury that the foregoing statements are true and correct.

       Dated: June 12, 2025


                                                      MARJORIE J.      Digitally signed by MARJORIE J.
                                                                       SHOFER -S
                                                      SHOFER -S        Date: 2025.06.12 13:36:39 -04'00'
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                                                      Margie Shofer




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